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                                   STATEMENT OF FACTS

       Your affiant, Vincent Kingston, is a Task Force Officer assigned to the Kansas City FBI
Field Office. In my duties as a task force officer, I investigate Domestic Terrorism Matters.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a task force officer, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                   Conduct of Devin Rossman

        On January 7, 2021, the FBI received an anonymous tip that DEVIN ROSSMAN of
Independence, Missouri posted a video of himself on Facebook standing on the balcony of the
Capitol Building and was wearing a brown jacket. Based on the information received in the tip,
investigators requested and received background information on ROSSMAN from law
enforcement databases, including identifying information, residential addresses, a copy of
ROSSMAN’s driver’s license photograph, and phone number associated with ROSSMAN ending
in 4193.

        According to records obtained through a search warrant which was served on Google, a
mobile device associated with devkiross@gmail.com was present at the U.S. Capitol on January
6, 2021. Google estimates device location using sources including GPS data and information about
nearby Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. As a result, Google assigns a “maps display radius” for
each location data point. Thus, where Google estimates that its location data is accurate to within
10 meters, Google assigns a “maps display radius” of 10 meters to the location data point. Finally,
Google reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated
with devkiross@gmail.com was in various locations within the U.S. Capitol for approximately one
hour and fifty-three minutes. Google records show that the “maps display radius” for this location
data ranged from 10 meters to 431 meters, in which the majority of the data points encompassed
an area that was entirely within the U.S. Capitol Building. Google provided subscriber information
on ROSSMAN’s Google email account, devkiross@gmail.com, which included a recovery phone
number of ending in 4193, which matched information contained in law enforcement databases
for ROSSMAN.

       On June 23, 2021, I observed an open-source video posted to the social networking site,
TikTok, that depicted an individual inside the Capitol Building on January 6, 2021. At the 20
second mark in the video, a white male with a beard wearing a tan jacket or shirt, blue jeans, and
a baseball cap with sunglasses perched atop was seen descending stairs inside the Capitol Building.
A screenshot of the video is included as Exhibit 1, below:




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                                          Exhibit 1




        In comparison to the CCTV and Facebook images of ROSSMAN on January 6, 2021
(below), and ROSSMAN’s driver’s license photograph, as well as other corroborating information,
I believe the individual in the TikTok video is ROSSMAN.

        ROSSMAN’s location and activity while inside the Capitol building was captured by
internal surveillance cameras. On July 1, 2021, FBI Kansas City reviewed a video captured from
closed-captioned Closed-circuit television (CCTV) cameras from inside the U.S. Capitol on
January 6, 2021. One video depicted individuals entering and exiting an exterior door. An
individual matching ROSSMAN’s description was seen in the video. The individual was making
his way towards the exit, had a beard, and was wearing a tan jacket and baseball cap with
sunglasses on top of the cap. Exhibits 2-4, below, are still images from the video:

                                          Exhibit 2




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                           Exhibit 3




                           Exhibit 4




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        In other CCTV videos, an individual matching ROSSMAN’s description can be seen with
other individuals in an interior hallways on the second floor of the U.S. Capitol Building on
January 6, 2021. The invidual matching ROSSMAN’s description was seen entering an office, and
then re-appearing in the hallway. Exhibits 5-8, below, are still images from the videos:

                                         Exhibit 5




                                         Exhibit 6




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                           Exhibit 7




                           Exhibit 8




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        The CCTV video evidence of the individual matching the description of ROSSMAN at the
the U.S. Capitol building is consistent with the time and location that ROSSMAN’s digital device
entered the U.S. Capitol, as reflected in the records provided by Google referenced above.
Furthermore, after comparing to the open-source and Facebook images of ROSSMAN on January
6, 2021, and ROSSMAN’s driver’s license photograph, as well as other corroborating information,
I believe the individual in the CCTV videos is ROSSMAN.

       On October 20, 2021, the FBI executed a search warrant on ROSSMAN’s Facebook
account. Prior to obtaining the search warrant, account information for the Facebook account
showed that it was registered to “Devin Rossman” with the phone number referenced above ending
in 4193 and the email address, devkiross@gmail.com, which matches the law enforcement
background information and the subscriber information received from Google for ROSSMAN
referenced above.

       Upon receiving the Facebook search warrant results, the FBI reviewed Facebook private
messages associated with ROSSMAN’s Facebook account confirming that ROSSMAN traveled
to Washington, D.C. to participate in the events at the U.S. Capitol on January 6, 2021. ROSSMAN
admitted in private messages to more than one person that he entered the U.S. Capitol and was
present during the events of January 6, 2021. In more than one conversation, ROSSMAN admitted
that he entered U.S. House of Representative Speaker Nancy J. Pelosi’s office. ROSSMAN
described what he viewed inside her office, including an open laptop and several television screens.
Exhibits 9 – 10 are images located in the Facebook account:

                                            Exhibit 9




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                                          Exhibit 10




       Additional images reviewed from ROSSMAN’s Facebook included apparent photographs
taken by ROSSMAN at the U.S. Capitol on January 6, 2021. In Exhibit 11, below, ROSSMAN
can be seen with a beard wearing a tan jacket or shirt and a baseball cap with sunglasses. After
comparing to the open-source and CCTV images of ROSSMAN on January 6, 2021 (above), and
ROSSMAN’s driver’s license photograph, as well as other coorberating information, I believe the
individual in Exhibit 11 is ROSSMAN.

                                          Exhibit 11




                                               8
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        The review ROSSMAN’s Facebook account further revealed the original photo of
ROSSMAN at the U.S. Capitol, which initiated this investigation. ROSSMAN admitted in
Facebook private messages that he was the person in the photo and referred to himself as the one
in the brown coat in Exhibit 12, below.

                                          Exhibit 12




                                           Charges

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Devin Kiel Rossman violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
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business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Devin Kiel Rossman
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
        .


                                                     _________________________________
                                                     Vincent Kingston
                                                     Task Force Officer
                                                     FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of May 2022.


                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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